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Case 2:19-cv-00301-RSL Document 76 Filed 05/04/20 Page 1 of 4

The Honorable Robert S. Lasnik

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF WASHINGTON

UNIVERSAL LIFE CHURCH
MONASTERY STOREHOUSE, a
Washington non-profit corporation,
Plaintiff,
v.

MAURICE KING, LEWIS KING,

GLEN YOSHIOKA, DYLAN WALL,
SARA WHITE, and AMERICAN
MARRIAGE MINISTRIES, a Washington
non-profit corporation,

Defendants
AMERICAN MARRIAGE MINISTRIES, a
Washington non-profit corporation,
Counter-Claimant/
Third-Party Plaintiff,
Vv.

UNIVERSAL LIFE CHURCH
MONASTERY STOREHOUSE, a
Washington non-profit corporation; and
UNIVERSAL LIFE CHURCH
MONASTERY STOREHOUSE, INC., a
Washington non-profit corporation,
Counter-Defendants/
Third-Party Defendants.

 

Case No. 2:19-CV-00301-RSL

DECLARATION OF LEWIS KING IN
SUPPORT OF DEFENDANT AMERICAN
MARRIAGE MINISTRIES’ RESPONSE
TO PLAINTIFF’S MOTION FOR A
PROTECTIVE ORDER AND TO QUASH
SUBPOENAS

FOSTER GARVEY P.C.

Declaration of Lewis King in Support of Defendant 1111 Tumrp AVENUE, SUITE 3000

American Marriage Ministries’ Response to Plaintiff's SEATTLE, WASHINGTON 98101-3292
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I, Lewis King, hereby declare and affirm as follows:

1. I am the Executive Director of American Marriage Ministries (“AMM”), a
Defendant in the above-captioned matter. I have personal knowledge of the facts stated herein
and am otherwise competent to make this declaration.

2. In the spring of 2018, I observed a decline in AMM’s number of ordinations and
a sharp decline in AMM’s revenue. I also observed that around the same time, the website at
the domain name americanmarriageministries.com was appearing much higher in online search
results than it previously had.

3. AMM’s sales have suffered at least one other notable decline at a time that
correlates with when the website at the domain name americanmarriageministries.com
achieved prominence in online search results, in the fall of 2016.

4, AMM sought to counter confusion caused by Plaintiff on the
americanmarriageministries.com website by creating a response site,
americanmarriageministrieslegal.com, with the purpose of correcting the false impression given
by the americanmarriageministries.com site as to the validity of AMM ordinations. AMM also
created another site, amm-vs-ulc.com, to provide information about the differences between
AMM and online ordination organizations with the “Universal Life Church” name, in an effort
to combat any confusion caused by Plaintiff's use of AMM’s name and trademark.

5. In the above-captioned case, AMM seeks statutory damages, presumed
damages, damages from lost sales and profits, damages to compensate for reputational harm
and for dilution of its brand, disgorgement of profits, and any punitive damages, trebled
damages, fees or costs allowed by law.

6. AMM has lost sales since around 2016 because of actions taken by the
Universal Life Church Monastery Storehouse, the Plaintiff in the above-captioned matter.

Based on AMM’s average annual growth rate between 2011 and 2016 of $290,894, AMM

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Declaration of Lewis King in Support of Defendant 1111 THIRD AVENUE, SUITE 3000

American Marriage Ministries’ Response to Plaintiff's SEATTLE, WASHINGTON 98101-3292
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Case No. 2:19-CV-00301-RSL

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calculates that it lost approximately $2,235,613 in sales for the years 2017-2019. Based on
AMM’s projected revenue compared to real revenue, AMM suffered an estimated loss of

$290,894 in 2017; an estimated loss of $969,165 in 2018; and an estimated loss of $975,554 in
2019.

I certify under penalty of perjury under the laws of the United States that the foregoing

is true and correct.

Executed this 4th day of May, 2020 in Seattle, Washington.

JMt=

Lewis Kin
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Declaration of Lewis King in Support of Defendant 1111 TeHRD AVENUE, SUITE 3000
American Marriage Ministries’ Response to Plaintiffs SEATTLE, WASHINGTON 98101-3292
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CERTIFICATE OF SERVICE

I hereby certify that on May 4th, 2020, I served a copy of the foregoing on:

 

Michael P. Matesky, II

Matesky Law LLC

1001 4" Ave., Suite 3200

Seattle, WA 98154

Email: litigation@mateskylaw.com
Of Attorneys for Plaintiff

Michael B. Galletch

Puget Sound Business & Litigation PLLC
411 University Street, Suite 1200

Seattle, WA 98101

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Of Attorneys for Plaintiff

 

 

Anne Cohen

Sheeba Roberts

Betts Patterson Mines P.C.

111 SW 5" Ave., Suite 3650

Portland, OR 97204

Email: Acohen@bpmlaw.com
sroberts@bpmlaw.com

Of Attorneys for Maurice King, Lewis King,
Glen Yoshioka, Dylan Wall, Sarah White and
American Marriage Ministries

 

 

 

 

X___ by mailing to each of the foregoing a copy thereof, placed in a sealed envelope
addressed as listed above and deposited in the United States mail at Seattle,
Washington, and that postage thereon was fully prepaid.

 

kel

by facsimile transmission to the number shown above.

X___by additional e-service through the E-Filing system, if party was registered.

X by courtesy email to the email addresses shown above.

DATED this 4th day of May, 2020.

Declaration of Lewis King in Support of Defendant
American Marriage Ministries’ Response to Plaintiff's

McKenna Filler
McKenna Filler, Legal Practice Assistant

FOSTER GARVEY P.C.
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SEATTLE, WASHINGTON 98101-3292
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